                                                                     FORM 1
                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                Page:      1
                                                                   ASSET CASES
Case No:            19-49214         LSG Judge: LISA S. GRETCHKO                                               Trustee Name: BASIL T. SIMON, TRUSTEE
Case Name:          KS AUTOMATION, LLC                                                                         Date Filed (f) or Converted (c):      06/20/19 (f)
                                                                                                               341(a) Meeting Date:                  01/23/20
 For Period Ending: 03/31/22         (3rd reporting period for this case)
                                                                                                               Claims Bar Date:                      06/04/20


                                 1                                              2                         3                  4               5                            6
                                                                                                 Estimated Net Value
                                                                                                  (Value Determined       Property                                   Asset Fully
                                                                             Petition/             by Trustee, Less       Formally       Sale/Funds              Administered (FA)/
                         Asset Description                                  Unscheduled           Liens, Exemptions,     Abandoned       Received by          Gross Value of Remaining
              (Scheduled and Unscheduled (u) Property)                        Values               and Other Costs)      OA=554(a)        the Estate                   Assets

 1. BANK OF AMERICA - CHECKING ACCOUNT                                           Unknown                   14,207.32                         14,207.32                   FA

 2. PREFERENCE (u)                                                                  5,000.00                      0.00                                0.00               FA
    * No preferences were recovered.

 3. DEBTOR'S RECORDS SHOW OPEN A/R                                               Unknown                      2,392.50                            2,392.50               FA
    AS OF 12/31/18 OF $141,947.00. NO IDENTIFIABLE
    A/R INFORAMTION IS AVAILABE AS OF THE
    INVOLUNTARY PETITION DATE OF 06/20/19;
    SCHEDULED ON SOFA #6
    BTD $2,392.50

 4. OFFICE FIXTURES                                                              Unknown                          0.00                                0.00               FA
    MICROSOFT SURFACE PRO 4 COMPUTER

 5. OTHER MACHINERY, FIXTRUES & EQUIPMENT                                           3,000.00                      0.00                                0.00               FA

 6. CASH ON HAND                                                                          0.00                    0.00                                0.00               FA

 7. OFFICE EQUIPMENT, INCLUDING ALL COMPUTER                                     Unknown                          0.00                                0.00               FA
    EQUIPMENT AND COMMUNICATION SYSTEMS
    EQUIPMENT AND SOFTWARE

 8. LEASE OF 1753 WEST HAMLIN ROAD, ROCHESTER                                             0.00                    0.00                                0.00               FA
 HILLS,
    MI

 9. POTENTIAL/ESTIMATED TAX REFUNDS                                              Unknown                          0.00                                0.00               FA
    2018-2019

 10. POTENTIAL CLAIMS AGAINST ROSS STAUNTON,                                     Unknown                   10,000.00                                  0.00                     10,000.00
   HEIKO SCHMIDT, STEFAN KOLLER AND VICTOR
   LANNI, INCLUDING, BUT NOT LIMITED TO:
   FRAUDULENT TRANSFERS, BREACH OF DUTY,
   MISAPPROPOPRIATION OF CORPORATE FUNDS.
   03/30/22 - Trustee's Notice of Abandonment filed;

 11. KS AUTOMATION 401(k) PROFT SHARING PLAN &                                   Unknown                          0.00                                0.00               FA
 TRUST

 12. ACCOUNT RECEIVABLE                                                                   0.00                    0.00                                0.00               FA
   09/08/21 - VOID ASSET. Duplicate of Asset No. 3

                                                                                                                                                             Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                               $8,000.00               $26,599.82                         $16,599.82                      $10,000.00



PFORM1                                                                                                                                                                        Ver: 22.04a
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                                                                    FORM 1
                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                           Page:      2
                                                                  ASSET CASES
Case No:           19-49214         LSG Judge: LISA S. GRETCHKO                              Trustee Name: BASIL T. SIMON, TRUSTEE
Case Name:         KS AUTOMATION, LLC                                                        Date Filed (f) or Converted (c):   06/20/19 (f)
                                                                                             341(a) Meeting Date:               01/23/20
                                                                                             Claims Bar Date:                   06/04/20


                                1                                    2                   3                 4               5                        6
                                                                                Estimated Net Value
                                                                                 (Value Determined     Property                                Asset Fully
                                                               Petition/          by Trustee, Less     Formally        Sale/Funds          Administered (FA)/
                        Asset Description                     Unscheduled        Liens, Exemptions,   Abandoned        Received by      Gross Value of Remaining
             (Scheduled and Unscheduled (u) Property)           Values            and Other Costs)    OA=554(a)         the Estate               Assets

                                                                                                                                           (Total Dollar Amount
                                                                                                                                                  in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 03/31/22 - TRUSTEE HAS REQUESTED THAT ATTORNEY AND ACCOUNTANT PREPARE AND FILE THEIR FINAL FEE APPS;
 03/30/22 - TRUSTEE'S NOTICE OF ABANDONMENT OF ASSET NO. 10 FILED;
 03/29/22 - TRUSTEE TO FILE HIS FINAL REPORT BY THE END OF MAY 2022;
 03/29/22 - TRUSTEE TO FILE NOTICE OF ABANDONMENT OF ASSET NO. 10;
 03/29/22 - TRUSTEE HAS NOT BEEN ABLE TO CONTACT MATT FRANK REGARDING REPRESENTION;
 03/22/21 - EMAIL SENT TO MATT FRANK RE: POSSIBLE EMPLOYMENT FOR LITIGATION VS. INSIDERS;
 03/26/20 - CONTINUED REVIEW OF POSSIBLE PREFERENCE ACTIONS AND POSSIBLE LITIGATION VS. INSIDERS;
 03/06/20 - WAITING FOR POC BAR DATE TO EXPIRE (06/04/20);
 01/05/20 - COLLECTION OF OUTSTANDING ACCOUNT RECEIVABLES AND PREFERENCES INITIATED;
 12/18/19 - SCHEDULES FILED AND 341 MEETING SET FOR 01/23/20 @ 12:30;
 09/06/19 - TRUSTEE HAS FILED A MOTION TO EMPLOY JEFF GRASL, ESQ. TO PREPARE BANKRUPTCY PETITION;
 07/16/19 - TRUSTEE HAS REQUESTED 12 MONTHS OF BANK STATEMENTS FROM BANK OF AMERICA;
 07/15/19 - FUNDS RECEIVED;
 07/12/19 - TRUSTEE HAS REQUESTED THAT THE BANK ACCOUNT BE CLOSED AT BANK OF AMERICA;
 06/20/19 - INVOLUNTARY CHAPTER 7 PETITION FILED;

 Initial Projected Date of Final Report (TFR): 12/31/21           Current Projected Date of Final Report (TFR): 05/31/22

       /s/     BASIL T. SIMON, TRUSTEE
 __________________________________________ Date: 04/12/22
       BASIL T. SIMON, TRUSTEE
       SIMON, STELLA & ZINGAS, P.C.
       645 GRISWOLD
       SUITE 3466
       DETROIT, MI 48226-4216
       Phone: (313) 962-6400
       Email: bsimon@sszpc.com
       Bar Number: P26340




PFORM1                                                                                                                                                  Ver: 22.04a
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                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:               19-49214 -LSG                                                            Trustee Name:                  BASIL T. SIMON, TRUSTEE
  Case Name:             KS AUTOMATION, LLC                                                       Bank Name:                     Axos Bank
                                                                                                  Account Number / CD #:         *******0480 Checking Account (Non-Interest Earn
  Taxpayer ID No:        *******0005
  For Period Ending:     03/31/22                                                                 Blanket Bond (per case limit): $ 2,000,000.00
                                                                                                  Separate Bond (if applicable):



      1             2                               3                                       4                                          5                   6                      7

 Transaction   Check or                                                                                              Uniform                          Disbursements       Account / CD
    Date       Reference                 Paid To / Received From               Description Of Transaction          Trans. Code    Deposits ($)             ($)             Balance ($)
                                                                       BALANCE FORWARD                                                                                                    0.00


  C 07/16/19        1       BANK OF AMERICA                            CLOSE BANK ACCOUNT                           1129-000           14,207.32                                  14,207.32


  C 09/13/19    002001      GRASL, PLC                                 ATTY FOR DEBTOR FEES P/O 09/06/19            3701-000                                   3,500.00           10,707.32
                            22345 METAMORA DR.                         PAID IN FULL
                            BEVERLY HILLS, MI 48025


  C 12/04/19    002002      INSURANCE PARTNERS                         2020 BLANKET BOND/INV# 377123                2300-000                                     11.12            10,696.20
                            26865 CENTER RIDGE ROAD
                            WESTLAKE, OH 44145


  C 01/29/20        3       BTD                                        ACCOUNT RECEIVABLE                           1121-000               2,392.50                               13,088.70


  C 11/24/20    002003      INSURANCE PARTNERS                         2021 BLANKET BOND/INV# 583326                2300-000                                      8.62            13,080.08
                            2950 WEST MARKET STREET
                            AKRON, OH 44333


  C 03/03/21                Axos Bank                                  BANK SERVICE FEE                             2600-000                                     13.04            13,067.04


  C 04/02/21                Axos Bank                                  BANK SERVICE FEE                             2600-000                                     14.43            13,052.61


  C 05/03/21                Axos Bank                                  BANK SERVICE FEE                             2600-000                                     13.95            13,038.66


  C 06/01/21                Axos Bank                                  BANK SERVICE FEE                             2600-000                                     14.40            13,024.26


  C 07/01/21                Axos Bank                                  BANK SERVICE FEE                             2600-000                                     13.92            13,010.34


  C 08/02/21                Axos Bank                                  BANK SERVICE FEE                             2600-000                                     14.36            12,995.98


  C 09/01/21                Axos Bank                                  BANK SERVICE FEE                             2600-000                                     14.35            12,981.63


  C 10/01/21                Axos Bank                                  BANK SERVICE FEE                             2600-000                                     13.87            12,967.76


  C 11/01/21                Axos Bank                                  BANK SERVICE FEE                             2600-000                                     14.32            12,953.44


  C 12/01/21                Axos Bank                                  BANK SERVICE FEE                             2600-000                                     13.84            12,939.60


  C 12/15/21    002004      INSURANCE PARTNERS                         2022 BLANKET BOND/INV# 825963                2300-000                                     16.69            12,922.91
                            2950 WEST MARKET STREET
                            AKRON, OH 44333


  C 01/03/22                Axos Bank                                  BANK SERVICE FEE                             2600-000                                     14.28            12,908.63


  C 02/01/22                Axos Bank                                  BANK SERVICE FEE                             2600-000                                     14.25            12,894.38


  C 03/01/22                Axos Bank                                  BANK SERVICE FEE                             2600-000                                     12.86            12,881.52




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                                                                        FORM 2                                                                                          Page:       2
                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:               19-49214 -LSG                                                            Trustee Name:                    BASIL T. SIMON, TRUSTEE
  Case Name:             KS AUTOMATION, LLC                                                       Bank Name:                       Axos Bank
                                                                                                  Account Number / CD #:           *******0480 Checking Account (Non-Interest Earn
  Taxpayer ID No:        *******0005
  For Period Ending:     03/31/22                                                                 Blanket Bond (per case limit): $ 2,000,000.00
                                                                                                  Separate Bond (if applicable):



      1             2                               3                                     4                                              5                   6                  7

 Transaction   Check or                                                                                                Uniform                          Disbursements   Account / CD
    Date       Reference                 Paid To / Received From             Description Of Transaction              Trans. Code    Deposits ($)             ($)         Balance ($)




 * Reversed
 t Funds Transfer                                       Account               Balance Forward                          0.00
 C Bank Cleared                                                             2 Deposits                            16,599.82                   4 Checks                          3,536.43
                                                        *******0480
                                                                            0 Interest Postings                        0.00                  13 Adjustments Out                   181.87
                                                                                                                                              0 Transfers Out                       0.00
                                                                               Subtotal                   $       16,599.82
                                                                                                                                                Total                   $       3,718.30
                                                                            0 Adjustments In                           0.00
                                                                            0 Transfers In                             0.00

                                                                               Total                      $       16,599.82




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